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United States District Court
Southern District of New York                                    1:20-cv-01409

Akash Budhani, individually and on behalf
of all others similarly situated,
                                Plaintiff,

                  - against -                               Class Action Complaint

Monster Beverage Company,
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.     Monster Beverage Company (“defendant”) manufactures, distributes, markets,

labels and sells espresso energy drinks blended with European milk and purporting to be flavored

with vanilla under their Monster brand (“Products”).

       2.     The Products are available to consumers from retail and online stores of third-parties

and defendant's website and Amazon.com and are sold in cans of 8.4 OZ.

       3.     The relevant front representations include “Vanilla Cream,” “Triple Shot,” and an

image of the vanilla flower.




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4.     The Product’s opposite panel contains the Nutrition Facts and ingredient list.




5.     The unqualified, prominent and conspicuous representation as “Vanilla Cream” is

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false, deceptive and misleading because the Product contains non-vanilla flavors which imitate

and extend vanilla but are not derived from the vanilla bean, yet these flavors are not disclosed to

consumers as required and expected.


I.      Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        6.     The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.”1

        7.     Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”2

        8.     Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.3

        9.     It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed

[in the United States] as all other flavors together.”4

        10.    This demand could not be met by natural sources of vanilla, leading manufacturers


1
  21 C.F.R. §169.3(c).
2
  Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
3
  Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
4
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
                                                        3
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to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and appearance.

         11.    Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.5

         12.    Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


      A. Food Fraud as Applied to Vanilla

         13.    Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.6

         14.    The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.7

         Type of Food Fraud                                      Application to Vanilla

    ➢ Addition of markers
       specifically tested for           •   Manipulation of the carbon isotope ratios to produce
       instead of natural                    synthetic vanillin with similar carbon isotope composition
       component of vanilla                  to natural vanilla
       beans

    ➢ Appearance of more                 •   Ground vanilla beans and/or seeds to provide visual appeal
       and/or higher quality of              as “specks” so consumer thinks the product contains real


5
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
6
  Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
7
  Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.
                                                         4
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       the valued ingredient                 vanilla beans, when the ground beans have been exhausted
                                             of flavor
                                       •     Caramel to darken the color of an imitation vanilla so it
                                             more closely resembles the hue of real vanilla8
                                       •     Annatto and turmeric extracts in dairy products purporting
                                             to be flavored with vanilla, which causes the color to better
                                             resemble the hue of rich, yellow butter

                                       •     Tonka beans, though similar in appearance to vanilla
    ➢ Substitution and
                                             beans, are banned from entry to the United States due to
       replacement of a high
                                             fraudulent use
       quality ingredient with
                                       •     Coumarin, a toxic phytochemical found in Tonka beans,
       alternate ingredient of
                                             added to imitation vanillas to increase vanilla flavor
       lower quality
                                             perception

    ➢ Addition of less expensive
       substitute ingredient to            • Synthetically produced ethyl vanillin, from recycled paper,
       mimic flavor of more                  tree bark or coal tar, to imitate taste of real vanilla
       valuable component

                                           • “to mix flavor materials together at a special ratio in which
                                             they [sic] compliment each other to give the desirable
                                             aroma and taste”9
    ➢ Compounding, Diluting,
                                           • Combination with flavoring substances such as propenyl
       Extending
                                             guaethol (“Vanitrope”), a “flavoring agent [, also]
                                             unconnected to vanilla beans or vanillin, but unmistakably
                                             producing the sensation of vanilla”10




8
  Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
9
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
10
   Berenstein, 423.
                                                         5
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                                          • “Spiking” or “fortification” of vanilla through addition of
                                             natural and artificial flavors including vanillin, which
                                             simulates vanilla taste but obtained from tree bark

                                          • Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give
                                             substance, to raise the weight of vanilla beans, alleged in
     the impression there is
                                             International Flavors and Fragrances (IFF), Inc. v. Day
     more of the product than
                                             Pitney LLP and Robert G. Rose, 2005, Docket Number L-
     there actually is
                                             4486-09, Superior Court of New Jersey, Middlesex County

                                          • Subtle, yet deliberate misidentification and obfuscation of
                                             a product’s components and qualities as they appear on the
                                             ingredient list
                                              o “ground vanilla beans” gives impression it describes
                                                 unexhausted vanilla beans when actually it is devoid of
                                                 flavor and used for aesthetics
                                              o “natural vanilla flavorings” – “-ing” as suffix referring
                                                 to something like that which is described
 ➢ Ingredient List Deception11                o “Vanilla With Other Natural Flavors” – implying –
                                                 wrongly – such a product has a sufficient amount of
                                                 vanilla to characterize the food
                                              o “Natural Flavors” – containing “natural vanillin”
                                                 derived not from vanilla beans but from tree pulp.
                                                 When paired with real vanilla, vanillin is required to be
                                                 declared as an artificial flavor
                                              o “Non-Characterizing” flavors which are not identical
                                                 to vanilla, but that extend vanilla


        15.     The “plasticity of legal reasoning” with respect to food fraud epitomize what H.




11
  Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.
                                                         6
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Mansfield Robinson and Cecil H. Cribb noted in 1895 in the context of Victorian England:

         the most striking feature of the latter‐day sophisticator of foods is his knowledge of
         the law and his skill in evading it. If a legal limit on strength or quality be fixed for
         any substance (as in the case of spirits), he carefully brings his goods right down to
         it, and perhaps just so little below that no magistrate would convict him.

         The law and chemistry of food and drugs. London: F.J. Rebman at p. 320.12

     B. The Use of Vanillin to Simulate Vanilla

         16.    The most persistent challenger to the authenticity of real vanilla has been synthetic

versions of its main flavor component, vanillin.

         17.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

vanillin was the equivalent of steroids for vanilla flavor.

         18.    According to Skip Rosskam, a professor of vanilla at Penn State University and

former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

a full gallon of single-fold vanilla extract.”13

         19.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

plant, which means that almost all vanillin has no connection to the vanilla bean.

         20.    Nevertheless, disclosure of this powerful ingredient has always been required where

a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

are given on the label.”).

         21.    Since vanilla is the only flavor with its own standard of identity, its labeling is



12
   Cited in Sébastien Rioux, “Capitalist food production and the rise of legal adulteration: Regulating food standards
in 19th‐century Britain,” Journal of Agrarian Change 19.1 (2019) at p. 65 (64-81).
13
   Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
21, 2019.
                                                          7
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controlled not by the general flavor regulations but by the standards for vanilla ingredients.

         22.   This means that if a product is represented as being characterized by vanilla yet

contains non-vanilla vanillin, the label and packaging must declare vanillin an artificial flavor. See

Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The specified name of the food is ‘Vanilla-

vanillin extract _-fold’ or ‘_-fold vanilla-vanillin extract’, followed immediately by the statement

‘contains vanillin, an artificial flavor (or flavoring)’.”); see also 21 C.F.R. § 169.181(b), §

169.182(b) (Vanilla-vanillin flavoring and Vanilla-vanillin powder).

         23.   This prevents consumers from being misled by products which may taste similar to

real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.


      C. Production of “Natural Vanillins” Combined with “Natural Vanilla”

         24.   The past ten years have seen many vanillins purporting to be a “natural flavor” –

derived from a natural source material which undergoes a natural production process.

         25.   However, “natural vanillin” is not a “natural vanilla flavor” because the raw material

is not vanilla beans but ferulic acid and eugenol.

         26.   Ferulic acid can be converted to vanillin through a natural fermentation process

which is cost prohibitive for almost all applications.

         27.   Vanillin from eugenol is easier to produce in a way claimed to be a “natural process.”

         28.   However, because this process occurs without transparency or verification in China,

regulators and consumers are not told the production method is more properly described as that of

an artificial flavor, involving a chain of chemical reactions.


II.      Flavor Industry’s Efforts to Use Less Vanilla, Regardless of any Shortages

         29.   The “flavor industry” refers to the largest “flavor houses” such as Symrise AG,

Firmenich, Givaudan, International Flavors and Fragrances (including David Michael), Frutarom
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and Takasago International along with the largest food manufacturing companies such as Unilever.

           30.    The recent global shortage of vanilla beans has provided the flavor industry another

opportunity to “innovate[ing] natural vanilla solutions…to protect our existing customers.”14

           31.    Their “customers” do not include the impoverished vanilla farmers nor consumers,

who are sold products labeled as “vanilla” for the same or higher prices than when those products

contained only vanilla.

           32.    These efforts include (1) market disruption and manipulation and (2) the

development of alternatives to vanilla which completely or partially replace vanilla.


       A. Flavor Industry’s Attempt to Disrupt Supply of Vanilla to Create a “Permanent Shortage”

           33.    The flavor industry has developed schemes such as the “Sustainable Vanilla

Initiative” and “Rainforest Alliance Certified,” to supposedly assure a significant supply of vanilla

at stable, reasonable prices.

           34.    Contrary to their intention, these programs make vanilla less “sustainable” by paying

farmers to destroy their vanilla and harvest palm oil under the pretense of “crop diversification.”

           35.    There have also been allegations that these programs use child and/or slave labor.

           36.    Other tactics alleged to be utilized by these companies include “phantom bidding,”

where saboteurs claim they will pay a higher price to small producers, only to leave the farmers in

the lurch, forced to sell at bottom dollar to remaining bidders.15

           37.    The reasons for these counterintuitive actions is because they benefit from high

vanilla prices and the use of less real vanilla.

           38.    When less vanilla is available, companies must purchase the higher margin,



14
     Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.
15
     Monte Reel, The Volatile Economics of Natural Vanilla in Madagascar, Bloomberg.com, Dec. 16, 2019.
                                                        9
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proprietary, “vanilla-like” flavorings made with advanced technology and synthetic biology.


     B. Use of Vanilla WONF Ingredients to Replace and Provide Less Vanilla

        39.     Though flavor companies will not admit their desire to move off real vanilla, this

conclusion is consistent with the comments of industry executives.

        40.     According to Suzanne Johnson, vice president or research at a North Carolina

laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

[WONF] in order to keep a high-quality taste at a lower price,” known as “Vanilla WONF.”

        41.     The head of “taste solutions” at Irish conglomerate Kerry urged flavor manufacturers

to “[G]et creative” and “build a compounded vanilla flavor with other natural flavors.”

        42.     A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of

vanilla beans. The result is a greater consistency in pricing, availability and quality.”16

        43.     These compounded flavors exist in a “black box” with “as many as 100 or more

flavor ingredients,” including potentiators and enhancers, like maltol and piperonal, blended

together to enhance the vanilla, allowing the use of less vanilla to achieve the intended taste.17

        44.     The effort to replace vanilla with so-called Vanilla WONF started in the late 1960s,

but the last 10 years have seen the proliferation of this ingredient.


     C. Decline of Industry Self-Governance

        45.     That high level executives in the flavor industry are willing to boast of their




16
  Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.
17
  Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
or at Least Derived from a Natural Source”) (emphasis added).
                                                         10
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stratagems to give consumers less vanilla for the same or greater price is not unexpected.

          46.   The once powerful and respected trade group, The Flavor and Extract Manufacturers

Association (“FEMA”), abandoned its “self-policing” of misleading vanilla labeling claims and

disbanding its Vanilla Committee.

          47.   FEMA previously opposed industry efforts to deceive consumers, but cast the public

to the curb in pursuit of membership dues from its largest members, such as Unilever.


III.      Designating Flavors and Ingredients in Products Represented as “Vanilla”

       A. Front Label Designation of Flavors

          48.   Where a food makes any representations as to its primary flavor, it must be

designated in a way which is truthful and not misleading based on various factors.

          49.   These include (1) the presence of “natural flavor” and/or “artificial flavor,” (2)

whether the natural and artificial flavor simulates, resembles or reinforces the characterizing

flavor, (3) whether the natural flavor is obtained from the food ingredient represented as the

characterizing flavor – i.e., does the peach flavor come from real peaches or is it synthesized from

apricots? and (4) the relative amounts of the different flavor types. See 21 C.F.R. § 101.22(i)(1)(i)-

(iii), 21 C.F.R. § 101.22(i)(2).

          50.   “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

contains the flavoring constituents” from a natural source such as plant material and can refer to

combinations of natural flavors. See 21 C.F.R. § 101.22(a)(3).

          51.   “Artificial flavor” is any substance whose function is to impart flavor that is not

derived from a natural source. See 21 C.F.R. § 101.22(a)(1).

          52.   A product labeled “Vanilla             ” gives the impression that all the flavor (taste

sensation and ingredient imparting same) in the product is contributed by the characterizing food

                                                  11
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ingredient of vanilla beans. See 21 C.F.R. § 101.22(i)(1) (describing a food which contains no

simulating artificial flavor and not subject to 21 C.F.R. § 101.22(i)(1)(i)-(iii)).

       53.    The absence of the term “flavored” where a food is labeled “Vanilla” gives

consumers the impression the food contains a sufficient vanilla to characterize the food.

       54.    If a product contains an “amount of characterizing ingredient [vanilla] insufficient to

independently characterize the food,” it would be required to be labeled as “Vanilla

flavored        ” or “natural vanilla flavored            .” See 21 C.F.R. § 101.22(i)(1)(i).

       55.    Where a product contains a “characterizing flavor from the product whose flavor is

simulated and other natural flavor which simulates, resembles or reinforces the characterizing

flavor,” the front label would be required to state “with other natural flavor.” See 21 C.F.R. §

101.22(i)(1)(iii) (“the food shall be labeled in accordance with the introductory text and paragraph

(i)(1)(i) of this section and the name of the food shall be immediately followed by the words "with

other natural flavor"”).

       56.    If the amount of the characterizing flavor is sufficient to independently characterize

the food, the front label would state “[Name of Characterizing Flavor] With Other Natural Flavor.”

See 21 C.F.R. § 101.22(i)(1)(iii); see also 21 C.F.R. § 101.22(i)(1) (“introductory text” describing

scenario where food contains “no artificial flavor which simulates, resembles or reinforces the

characterizing flavor,” and none of the sub-paragraphs of 21 C.F.R. § 101.22(i)(1) apply).

       57.    If the amount of the characterizing flavor is insufficient to independently characterize

the food, the front label would be required to state “[Name of Characterizing Flavor] Flavored

With Other Natural Flavor.” See 21 C.F.R. § 101.22(i)(1)(iii) referring to “paragraph (i)(1)(i) of

this section,” 21 C.F.R. § 101.22(i)(1)(i).


   B. Listing Vanilla or Vanilla Combination on Ingredient List
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         58.   Where an exclusively vanilla ingredient is used in a product, it is listed on the

ingredient list by its common or usual name provided by its standard of identity. See 21 C.F.R. §

169.175(b)(1) (“The specified name of the food is ‘Vanilla extract’ or ‘Extract of vanilla’.”); see

also 21 C.F.R. § 169.177(b) (“The specified name of the food is ‘Vanilla flavoring.’”).

         59.   Where vanilla is part of a flavor added to a food, it is labeled “natural flavor.”

         60.   Where a product’s front label indicates an unqualified “Vanilla,” but the ingredient

list contains a single flavoring ingredient of “Natural Flavor,” it likely means that vanilla is part of

this ingredient. See 21 C.F.R. § 101.22(h)(1) (“Spice, natural flavor, and artificial flavor may be

declared as ‘spice’, ‘natural flavor’, or ‘artificial flavor’, or any combination thereof, as the case

may be.”).


IV.      Types of Vanilla Flavoring Combinations

         61.   When vanilla is used in a product only represented as vanilla – as opposed to a

mixture of vanilla and strawberry flavors – Three types of vanilla flavor combinations are mainly

used in products labeled as vanilla.

         62.   Vanilla combination flavorings vary based on the food’s other ingredients and the

intended taste of the product.

         63.   Though the composition of these flavorings is never disclosed, independent testing

of flavor samples reveals commonalities such as “natural vanillin,” adjuvants and additives.


      A. Misleading to use Vanilla WONF and Designate the Food “Vanilla”

         64.   Where the ingredient used is identified to the manufacturer (but not the consumer)

as “vanilla with other natural flavors,” it is required to be designated on the ingredient list as

“natural flavor.”

         65.   Where a product is only labeled as “vanilla” but made with vanilla WONF, it is
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misleading for several reasons.

        66.    First, use of a vanilla WONF triggers the requirement to inform consumers that the

flavoring is not only from the named flavor (vanilla beans) but also from “other natural flavors”

that “simulate[s], resemble[s] or reinforce[s] the characterizing flavor” of vanilla. See 21 C.F.R. §

101.22(i)(1)(iii).

        67.    Second, because the standardized vanilla ingredients – vanilla extract and vanilla

flavoring “are expensive” and should be distinguished “from other similar products the general

principles of 21 CFR 102.5 should apply.” Exhibit A, Letter from FDA to Ernie Molina, Warner-

Jenkinson Company of California, January 17, 1980.

        68.    If the vanilla WONF consisted of half vanilla and half non-vanilla natural flavors,

the product name should state “contains 50% vanilla extract and 50% non-vanilla flavors.” Exhibit

A; 21 C.F.R. § 102.5(b) (requiring disclosure of the “percentage(s) of any characterizing

ingredient(s) or component(s) [as part of the product name] when the proportion of such

ingredient(s) or component(s) in the food has a material bearing on price or consumer acceptance

or when the labeling or the appearance of the food may otherwise create an erroneous impression

that such ingredient(s) or component(s) is present in an amount greater than is actually the case.”)

        69.    Third, where a vanilla WONF contains “natural vanillin” as part of the “other natural

flavors,” the product’s front label would be required to disclose it is naturally and artificially

flavored.

        70.    This is because vanillin has always been considered artificial when used with real

vanilla. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The specified name of the food is

‘Vanilla-vanillin extract _-fold’ or ‘_-fold vanilla-vanillin extract’, followed immediately by the

statement ‘contains vanillin, an artificial flavor (or flavoring)’.”).

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    B. Misleading to Describe Non-Vanilla Flavors as “Non-Characterizing” or “Masking”

        71.   Some companies include supposedly “non-characterizing” flavors with vanilla to

justify not disclosing anything other than vanilla on a product’s front label.

        72.   According to this interpretation, the “other natural flavors” do not “simulate[s],

resemble[s] or reinforce[s] the characterizing flavor” of vanilla, obviating the requirement to

disclose their use on the front label.

        73.   The most deceptive implementation of this interpretation was the development of the

Vanguard flavoring “system” in the late 1970s by David Michael & Co., Inc., currently part of

International Flavors & Fragrances (“IFF”).

        74.   Described as a “blend[s] of dozens of plant extractives, roots, and botanicals, all

natural ingredients found on the GRAS list,” this “flavorless” “natural flavor enhancer”

“contain[ed] no vanilla, vanillin, ethyl vanillin, or any artificial flavor” but reduced the amount of

real vanilla by up to half.

        75.   David Michael advised users of Vanguard the front label only had to declare

“vanilla” while the ingredient list would state “vanilla extract [or flavor], natural flavor.”

        76.   Companies know consumers value and will pay more for a product which contains

high value ingredients they are familiar with, such as vanilla extract or vanilla flavoring.

        77.   The ubiquity of “natural flavor” – in almost every food and beverage available – is

synonymous with a laboratory-created, mass produced, low value ingredient.

        78.   It is deceptive and misleading to avoid declaring non-vanilla flavors on a product’s

front label merely because they do not simulate, or are not chemically identical to, the

characterizing flavor.

        79.   Use of this narrow criteria fails to recognize that the added flavors may resemble,


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reinforce and extend the characterizing vanilla flavor.

           80.    Though a non-vanilla natural flavor may not taste like vanilla, it allows the product

to use less vanilla and achieve the same sensory effect.

           81.    These non-vanilla natural flavors include include piperonal, maltol and heliotropin,

which potentiate, enhance and extend vanilla but do not taste identical to it.

           82.    The marketing materials for this type of ingredient system describes them aptly as

“vanilla replacers.”

           83.    In other situations, the non-vanilla natural flavors combined with vanilla may be

deceptively described as (1) a “masking flavor” which blocks or limits a negative taste sensation

caused by other ingredients or (2) “rounding out” harsher notes and ancillary off-flavors.

           84.    Masking flavors are claimed to work “in the background with the characterizing

notes, elevating them to their true potential” and “subdu[ing] off flavors from other

ingredients…allowing the characterizing flavor to shine.”18

           85.    However, a non-vanilla “masking” flavor creates the impression the food contains

more vanilla, requiring disclosure on the front label. See 21 C.F.R. § 101.22(i)(1)(iii) (“other

natural flavor which simulates, resembles or reinforces the characterizing flavor”).


V.         Product Contains Non-Vanilla Flavor and Components Which Enhance, Resemble,
           Simulate and Extend Vanilla

           86.    The Product is required to be labeled consistent with the flavor regulations in 21

C.F.R. §101.22.

           87.    The front label statements and/or images of “Vanilla” are understood by consumers

to identify a product where (1) vanilla is the characterizing flavor, (2) vanilla is contained in a



18
     Donna Berry, Modifying Flavor in Dairy Foods, April 11, 2018, Food Business News.
                                                        16
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sufficient amount to flavor the product, (3) the flavor is provided by an exclusively vanilla

ingredient, (4) no other flavors simulate, resemble, reinforce, enhance or extend the flavoring from

vanilla such that less real vanilla is needed and (5) vanilla is the exclusive source of flavor.

A. Ingredient List Declaration of “Natural Flavor” Reveals Flavor is Not Exclusively Vanilla


       88.    The unqualified, prominent and conspicuous representation as “Vanilla” is false,

deceptive and misleading because the Product contains flavoring other than vanilla, indicated by

"Natural Flavors" on the ingredient list.

                                            Ingredient List




                   INGREDIENTS: BREWED IMPORTED ESPRESSO
                   COFFEE (WATER, COFFEE), SKIM MILK, SUGAR,
                   CREAM, GLUCOSE, NATURAL FLAVORS, TAURINE,
                   NIACINAMIDE     (VIT.    B3), PYRIDOXINE
                   HYDROCHLORIDE (VIT. B6).

       89.    The Product’s front label flavor designation of “Vanilla” fails to disclose the

presence of these non-vanilla flavorings, which is deceptive to consumers.


VI.    Conclusion

       90.    Defendant’s branding and packaging of the Products are designed to – and does –

deceive, mislead, and defraud consumers.

       91.    Defendant has sold more of the Products and at higher prices per unit than it would

have in the absence of this misconduct, resulting in additional profits at the expense of consumers.

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       92.   The amount and proportion of the characterizing component, vanilla, has a material

bearing on price or consumer acceptance of the Products because consumers are willing to pay

more for such Products.

       93.   The value of the Product that plaintiff purchased and consumed was materially less

than its value as represented by defendant.

       94.   Had plaintiff and class members known the truth, they would not have bought the

Products or would have paid less for it.

       95.   The Product contains other representations which are misleading and deceptive.

       96.   As a result of the false and misleading labeling, the Product is sold at a premium

price, approximately no less than $3.89 per unit, excluding tax, compared to other similar products

represented in a non-misleading way.

                                      Jurisdiction and Venue


       97.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

       98.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

       99.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

       100. Plaintiff is a citizen of New York.

       101. Defendant is a Connecticut corporation with a principal place of business in Corona,

Riverside County, California and is a citizen of California.

       102. This court has personal jurisdiction over defendant because it conducts and transacts
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business, contracts to provide and/or supply and provides and/or supplies services and/or goods

within New York.

        103. Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        104. A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                 Parties

        105. Plaintiff is a citizen of New York, New York County, New York.

        106. Defendant Monster Beverage Company is a Connecticut corporation with a principal

place of business in Corona, California, Riverside County.

        107. During the relevant statutes of limitations, plaintiff purchased the Product within this

district and/or State for personal consumption in reliance on the representations.

                                         Class Allegations


        108. The classes will consist of all purchasers of the Products in New York, the other 49

states and a nationwide class, during the applicable statutes of limitations.

        109. Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

        110. Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

        111. Plaintiff is an adequate representative because his interests do not conflict with other

members.

        112. No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

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       113. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       114. Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       115. Plaintiff seeks class-wide injunctive relief because the practices continue.

                                       New York GBL §§ 349 & 350
                                 (Consumer Protection from Deceptive Acts)

       116. Plaintiff incorporates by reference all preceding paragraphs.

       117. Plaintiff and class members desired to purchase, consume and use products or

services which were as described and marketed by defendant and expected by reasonable

consumers, given the product or service type.

       118. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       119. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products.

       120. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       121. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                        Negligent Misrepresentation

       122. Plaintiff incorporates by reference all preceding paragraphs.
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       123. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products.

       124. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       125. Defendant had a duty to disclose and/or provide non-deceptive marketing of the

Products and knew or should have known same were false or misleading.

       126. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       127. The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       128. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       129. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

              Breaches of Express Warranty, Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       130. Plaintiff incorporates by reference all preceding paragraphs.

       131. The Products were manufactured, labeled and sold by defendant and warranted to

plaintiff and class members that they possessed substantive, functional, nutritional, qualitative,
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compositional, organoleptic, sensory, physical and other attributes which they did not.

       132. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Products.

       133. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       134. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       135. Defendant received notice and should have been aware of these misrepresentations

due to numerous complaints by consumers to its main office over the past several years.

       136. The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       137. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                             Fraud


       138. Plaintiff incorporates by references all preceding paragraphs.

       139. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       140. Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Products on the front label when it knew this was not true.

       141. Plaintiff and class members would not have purchased the Products or paid as much
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if the true facts had been known, suffering damages.

                                            Unjust Enrichment

       142. Plaintiff incorporates by reference all preceding paragraphs.

       143. Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                   Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

       as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, restitution and disgorgement for members of the State Subclasses pursuant

       to the applicable laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: February 18, 2020
                                                                Respectfully submitted,

                                                                Sheehan & Associates, P.C.
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1:20-cv-01409
United States District Court
Southern District of New York

Akash Budhani, individually and on behalf of all others similarly situated,


                                        Plaintiff,


        - against -


Monster Beverage Company,


                                         Defendant




                                   Class Action Complaint



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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: February 18, 2020
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
